                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                                   1:04CR117-11


UNITED STATES OF AMERICA,                              )
                                                       )
Vs.                                                    )               ORDER
                                                       )
PATRICK ALEXANDER LIPSCOMBE.                           )
                                                       )
                  Defendant.                           )
________________________________________               )


        THIS CAUSE coming on to be heard and being heard before the undersigned, Dennis L.

Howell, United States Magistrate Judge for the Western District of North Carolina, pursuant to an

order entered by the undersigned on September 12, 2005 setting for hearing allegations contained

in a violation report filed September 2, 2005 that alleged that the defendant had violated terms and

conditions of his pretrial release and it appearing to the court that the undersigned established terms

and conditions of pretrial release for the defendant which required that the defendant participate in

treatment at a drug treatment facility located at a drug treatment center known as Fellowship Drug

Treatment located in Greensboro, North Carolina. The order of release was entered on September

13, 2005. The defendant has now moved the court to continue the hearing of the violation contained

in the violation report filed September 2, 2005 due to the fact that the defendant is involved in

treatment. The United States Attorney had no objection to the granting of the defendant’s motion.

        IT IS THEREFORE ORDERED that the hearing of the allegations of violations of terms and

conditions of pretrial release as alleged in a violation report filed on September 2, 2005 is hereby

continued until the defendant has completed his program of treatment at the Fellowship Drug

Treatment Center in Greensboro, North Carolina. The defendant has been ordered to appear in court



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the day after completing the program of treatment for further hearing of the issues as to whether or

not the defendant should be released on terms and conditions of pretrial release.




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                   Signed: September 26, 2005




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